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12   Counsel for Defendants

13
14                              IN THE UNITED STATES DISTRICT COURT

15                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
     __________________________________________
16                                              )
17   U.S. WECHAT USERS ALLIANCE, et al.,        )   Case No. 3:20-cv-05910-LB
                                                )
18           Plaintiffs,                        )   STIPULATION AND
                                                )   PROPOSED ORDER TO
19                         v.                   )   EXTEND DEADLINE AND
20                                              )   SET BRIEFING SCHEDULE
     DONALD J. TRUMP, President of the United   )
21   States, and WILBUR ROSS, Secretary of      )
     Commerce,                                  )
22                                              )
23           Defendants.                       )
     __________________________________________)
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     U.S. WeChat Users Alliance, et al. v. Trump, et al., Case No. 3:20-cv-05910-LB
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 1                                                 STIPULATION
 2           Pursuant to United States District Court, Northern District of California Local Rules 6-1,
 3   6-2, 7-11, and 7-12, Plaintiffs U.S. WeChat Users Alliance (“USWUA”), Chihuo, Inc., Brent
 4   Coulter, Fangyi Duan, Jinneng Bao, Elaine Peng, and Xiao Zhang (collectively, “Plaintiffs”), and
 5   Defendants President Donald Trump and Secretary Wilbur Ross (collectively “Defendants”),
 6   hereby file this Stipulation to extend Defendants’ deadline to respond to the Amended
 7   Complaint, to set a briefing schedule for the anticipated motion, and to amend the page limits.
 8           WHEREAS, the first Complaint in this matter, see ECF No. 1, was served on the U.S.
 9   Attorney’s Office on August 24, 2020, and an Amended Complaint on September 18, 2020, see
10   ECF No. 49;
11           WHEREAS, the Court previously entered an Order on the parties’ stipulated briefing
12   schedule for a Motion to Dismiss the First Amended Complaint, whereby the Motion to Dismiss,
13   not to exceed 40 pages, would be filed on or before November 16, 2020; Plaintiffs’ opposition,
14   not to exceed 40 pages, would be filed on or before December 14, 2020; and Defendants’ reply
15   memorandum, not to exceed 20 pages, would be filed on or before January 18, 2021, see ECF
16   No. 101;
17           WHEREAS, on December 7, 2020, while Defendants’ Motion to Dismiss was pending,
18   Plaintiffs filed a Second Amended Complaint, see ECF No. 136, thus mooting the pending
19   Motion to Dismiss, and making Defendants’ response to the Second Amended Complaint due
20   December 21, 2020, see Fed. R. Civ. P. 15(a)(3);
21           WHEREAS, Defendants currently anticipate filing a Partial Motion to Dismiss the
22   Second Amended Complaint;
23           WHEREAS, the filing of partial motion to dismiss ordinarily tolls the time to answer the
24   remaining claims in a complaint;
25           WHEREAS, the parties anticipate the complex issues presented and the press of other
26   business merit somewhat lengthier briefing than that normally permitted under the local rules,
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 1           WHEREAS, counsel for the parties have conferred and agree that this stipulation is
 2   supported by good cause and not for purposes of delay;
 3   THE PARTIES HEREBY STIPULATE AS FOLLOWS:
 4           1. Defendants’ deadline to respond to the Second Amended Complaint is extended such
 5                that Defendants will file a motion in response to the Complaint on or before
 6                December 23, 2020;
 7           2. Any deadline for responding to claims not subject to the motion to dismiss is tolled
 8                pending resolution of the motion;
 9           3. Plaintiffs will file their opposition to this motion on or before February 1, 2021;
10           4. If Plaintiffs elect to file a cross-motion, counsel for the parties will confer about the
11                effect on the briefing schedule, and attempt to reach agreement;
12           5. Defendants will file a reply in support of their motion on or before February 15, 2021.
13
14           The parties further respectfully request that the Court set the proposed motion for
15   argument on a date thereafter convenient for the Court.
16
17           .
18   Dated: December 17, 2020                            Respectfully submitted,
19
                                                         JEFFREY BOSSERT CLARK
20                                                       Acting Assistant Attorney General
21                                                       JOHN V. COGHLAN
22                                                       Deputy Assistant Attorney General

23                                                       ALEXANDER K. HAAS
                                                         Branch Director
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                                                         DIANE KELLEHER
25
                                                         Assistant Branch Director
26
                                                         /s/ Amy E. Powell
27                                                       SERENA M. ORLOFF
28
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 8                                                       Counsel for Defendants
 9
     DATED: December 17, 2020                        Respectfully submitted,
10
11                                                   ROSEN BIEN GALVAN & GRUNFELD LLP
12
13                                                   By: /s/ Michael W. Bien
                                                         Michael W. Bien
14
15                                                   Attorneys for Plaintiffs
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                                       ATTORNEY ATTESTATION
 1
              Pursuant to Civil Local Rule 5-1(i)(3), I, Amy Powell, hereby attest that concurrence in
 2   the filing of this document has been obtained from any other signatories indicated by a signature
     (/s/) within this e-filed document. I declare under penalty of perjury under the laws of the United
 3   States of America that the foregoing is true and correct.
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 5   December 17, 2020                                   /s/Amy E. Powell
                                                         AMY E. POWELL
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 1
 2                         [PROPOSED] ORDER APPROVING STIPULATION

 3           Pursuant to the above Stipulation, and on good cause shown,
 4
             IT IS HEREBY ORDERED that Defendants’ anticipated Partial Motion to Dismiss shall
 5   be filed on or before December 23, 2020; Plaintiffs’ opposition shall be filed on or before
     February 1, 2021; and Defendants’ reply memorandum will be filed on or before February 15,
 6   2021.
 7
            IT IS FURTHER ORDERED that any obligation to respond to the claims not subject to
 8   the Motion to Dismiss is tolled pending resolution of the motion.
 9           IT IS FURTHER ORDERED that Defendants’ motion will be heard on _______ __,
10   2021.

11           PURSUANT TO STIPULATION, IT IS SO ORDERED.
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13
     Dated: ________________                             _____________________________________
14                                                       Honorable Laurel Beeler
                                                         United States Magistrate Judge
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